                            Case 2:24-sw-00508-DB Document 1 Filed 05/22/24 Page 1 of 6
AO 108 (Rev. 06/09) Application for a Warrant to Seize Property Subject to Forfeiture




                                                         United States District Court                                         FILED
                                                                                                                             May 22, 2024
                                                                   EASTERN District of CALIFORNIA                         CLERK, U.S. DISTRICT COURT
                                                                                                                        EASTERN DISTRICT OF CALIFORNIA




                           In the Matter of the Seizure of                              APPLICATION FOR A WARRANT TO SEIZE
                        (Briefly describe the property to be seized)
                                                                                         PROPERTY SUBJECT TO FORFEITURE
  Approximately $58,441.00 in U.S. Currency.
                                                                                        CASE NUMBER:
                                                                                                                 2:24-sw-0508 DB

        I, a federal law enforcement officer or attorney for the government, request a seizure warrant and
state under penalty of perjury that I have reason to believe that the following property in the Eastern District
of CALIFORNIA is subject to forfeiture to the United States of America (describe the property):

Approximately $58,441.00 in U.S. Currency.

       The property is subject to seizure pursuant to 21 U.S.C. § 881(b) incorporating 18 U.S.C. § 981(b),
and subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6), concerning violations of 21 U.S.C. §§ 841(a)(1)
and 846.


              The application is based on these facts:

                             See attached affidavit.

                     Continued on the attached sheet.


                                                                                               /s/ Ranjit Takhar
                                                                                            ______________________________________________
                                                                                                             Applicant’s signature


                                                                                            Ranjit Takhar, Special Agent, FBI
                                                                                                            Printed name and title




Sworn to before me over the telephone and signed
by me pursuant to Fed. R. Crim. P. 4.1.

     05/22/2024

  Date                                                                                                 Judge’s signature

  Sacramento, California
  City and State                                                                                    Printed name and title
               Case 2:24-sw-00508-DB Document 1 Filed 05/22/24 Page 2 of 6

                        AFFIDAVIT IN SUPPORT OF A SEIZURE WARRANT

        I, Ranjit Takhar, a Special Agent with the Federal Bureau of Investigation (FBI), depose and state

the following:

                                              INTRODUCTION

       1.      I make this affidavit in support of an application to seize $58,441.00 in cash connected to a

search warrant executed on August 16, 2022, at a Modesto, California residence occupied by Diana

Penaloza (“Penaloza”), a suspected narcotics trafficker. On August 16, 2022, law enforcement executed a

warrant at the residence, finding over 10 pounds of methamphetamine, and arrested Penaloza and another

individual on multiple violations of state drug laws. A few months later, on October 20, 2022, a federal

grand jury in the Eastern District of California indicted Penaloza on two counts of 21 U.S.C § 841(a)(1) –

possession with intent to distribute over 50 grams of methamphetamine, United States v. Diana Penaloza,

1:22-cr-00281-ADA-BAM. The amount subject to seizure, approximately $58,441.00 in U.S. Currency,

represents the $58,441.00 in cash seized from Penaloza’s Modesto residence on August 16, 2022.

       2.      Based on my training and experience and the facts as set forth in this affidavit, there is

probable cause to seize the approximately $58,441.00 in U.S. Currency pursuant to 21 U.S.C. § 881(b)

incorporating 18 U.S.C. § 981(b). The approximately $58,441.00 in U.S. Currency is subject to forfeiture

pursuant to 21 U.S.C. § 881(a)(6) as it represents proceeds traceable to the sale of controlled substances or

funds used or intended to be used to facilitate a federal drug crime in violation of 21 U.S.C. §§ 841(a)(1)

and 846.

                                            PROBABLE CAUSE

       3.      On August 4, 2022, Modesto Police Department (“MPD”) conducted surveillance at 2423

Yosemite Blvd, Modesto, CA related to a narcotics investigation involving Penaloza, Victor Ruiz Penaloza

(“Victor”), and Loreto Madrid (“Loreto”). MPD Investigators observed a male subject, later identified as

Victor, walk out of the 2423 Yosemite Blvd. residence with a white grocery bag. MPD Investigators

observed Victor hand the grocery bag to Loreto Madrid (“Loreto”), who MPD had previously surveilled and

was suspected of conducting multiple narcotics transactions at 2423 Yosemite Blvd. Once Loreto received

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the white grocery bag, MPD Investigators observed Victor take possession of a Home Depot box from

inside Loreto’s Toyota Tacoma, and take the Home Depot box inside 2423 Yosemite Blvd. MPD

investigators believed this exchange was a typical drug transaction between Victor and Loreto, i.e., Loreto

would deliver drugs to Victor’s residence at 2423 Yosemite Blvd.

       4.       On August 16, 2022, MPD Investigators executed state search warrants issued by Stanislaus

County Superior Court at 2423 Yosemite Blvd., Modesto, CA, after MPD Investigators observed Loreto

deliver a Home Depot box to Victor’s sister, Diana Penaloza, earlier that day at the location. During the

search of 2423 Yosemite Blvd., investigators located the Home Depot box delivered by Loreto and found

approximately ten pounds of suspected methamphetamine inside the Home Depot box. In an Amazon box

located immediately adjacent to the Home Depot box inside the residence, investigators found an additional

approximately three pounds of suspected methamphetamine. MPD Investigators located $56,061.00 in cash

in Penaloza’s bedroom and $2,380.00 in cash in various other locations throughout the residence. In total,

MPD Investigators seized $58,441.00 in cash from the residence.

       5.       The suspected methamphetamine seized by MPD from 2423 Yosemite Blvd. was later

submitted to the California Department of Justice lab and tested positive for methamphetamine.

       6.       On August 16, 2022, law enforcement also searched Loreto’s rented storage unit in Modesto,

California. During that search, law enforcement found approximately 114 pounds of suspected

methamphetamine packaged in 1 pound plastic bags in various totes and plastic containers throughout the

storage unit.
       7.       After MPD seized the $58,441 from the search warrant, the cash was placed in MPD

Evidence and then the City of Modesto’s custody, awaiting the outcome of the state criminal case. The

58,441.00 in cash was currently subject to federal forfeiture as a consequence of the crimes detailed in the

federal criminal indictment, United States v. Diana Penaloza, 1:22-cr-00281-ADA-BAM.

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                                               CONCLUSION

       8.      For the reasons set forth above, there is probable cause to believe that the $58,441.00

represents proceeds of drug trafficking. Accordingly, I request that the Court issue a seizure warrant

authorizing the seizure of the funds for federal forfeiture as drug proceeds.


                                                        /s/ Ranjit Takhar
                                                       ________________________
                                                       Ranjit Takhar
                                                       Special Agent
                                                       Federal Bureau of Investigation


Reviewed and approved as to form

/s/ Kevin C. Khasigian
Kevin C. Khasigian
Assistant U.S. Attorney


Sworn before me and signed telephonically
         22 day of May 2024.
on this ____


________________________
Hon. Deborah L. Barnes
United States Magistrate Judge




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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture




                                                            United States District Court
                                                                      EASTERN District of CALIFORNIA_
                                     In the Matter of the Seizure of                        WARRANT TO SEIZE PROPERTY
                                  (Briefly describe the property to be seized)
                                                                                              SUBJECT TO FORFEITURE
                  Approximately $58,441.00 in U.S. Currency.
                                                                                            CASE NUMBER:
                                                                                                                2:24-sw-0508 DB
To:           Any authorized law enforcement officer

        An application by a federal law enforcement officer or an attorney for the government requests that certain
property located in the Eastern District of CALIFORNIA be seized as being subject to forfeiture to the United
States of America. The property is described as follows:

Approximately $58,441.00 in U.S. Currency.

        The property is subject to seizure pursuant to 21 U.S.C. § 881(b) incorporating 18 U.S.C. § 981(b), and
subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6).


              I find that the affidavit(s) and any recorded testimony establish probable cause to seize the property.

        YOU ARE COMMANDED to execute this warrant and seize the property within 14 days in the
daytime 6:00 a.m. to 10:00 p.m. You must also give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

       An officer present during the execution of the warrant must prepare, as required by law, an inventory of
any property seized and the officer executing the warrant must promptly return this warrant and a copy of the
inventory to DEBORAH BARNES or Any U.S. Magistrate in the Eastern District of California.




       05/22/2024, 2:51pm
  Date and Time Issued                                                                             Judge’s signature

  Sacramento, California
  City and State                                                                                 Printed name and title
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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture (Page 2)

                                                                                  RETURN
  Case No.:                                                    Date and time warrant executed:       Copy of warrant and inventory left with:


  Inventory made in the presence of:



  Inventory of the property taken:




                                                                               CERTIFICATION

       I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
  to the designated judge.


  Date: __________________________                                                               ____________________________________________
                                                                                                               Executing officer’s signature


                                                                                                 ____________________________________________
                                                                                                               Printed name and title


  Subscribed, sworn to, and returned before me this date.



                               ____________________________________________                              ______________________________
                                       U.S. Judge or Magistrate                                                         Date
